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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

UNITED STATES OF AMERICA
CASE NUMBER: 18 CR 24
v.
JIONGSHENG (“JIM”) ZHAO
ORDER
The UNITED STATES OF AMERICA by its attorney, SANDRA MOSER,
Acting Chief of the Fraud Section of the Crirninal Division, United States Departrnent
of Justice, having moved this Court to Unseal the Complaint, Affidavit, Arrest
Warrant, and Motion to Seal, and the Court’s sealing Order dated January 11, 2018,
and having demonstrated good cause in support cf its motion, specifically that the
circumstances and attendant concerns that prompted the governments initial
request to seal in this matter are no longer present.
IT IS HEREBY ORDERED THAT the Complaint, Affidavit, Arrest Warrant,
Motion to Seal, and the Court’s sealing Order dated January 11, 2018, all be unsealed

and publicly filed.

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United States Magistrate Ju%e

 

 

DATE: January 29, 2018

